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LEAVE TO FILE GRANTED

UNITED STATES DISTRICT COURT ar

FOR THE DISTRICT OF COLUMBIA ty CH hu AU
qae7 7, 2038

UNITED STATES OF AMERICA

v. Criminal No. 23-CR-239 (CKK) ILYA LICHTENSTEIN, et al.

Objection to ECF 202

|, Jonas Paasch, respectfully submit this objection to the "Government's Supplemental Motion

Regarding Restitution." as a victim myself and someone in contact with several other victims.

The motion, referenced as ECF 202, falsely portrays the plea agreement, implying that “all”
restitution should be directed to Bitfinex. This misrepresentation is alarming and deeply
troubling for the victims. It fails to consider the context of restitution and the 1000s of rightful
claims to be made. Whereas the plea agreement actually specifies no amount and
references the MVRA first.

Whereas the honorable Judge has already clarified in the sentencing: "the question is
whether they get any additional sum, whether they get restitution. So I would

refer to do it as part of the restitution hearing where there seems to be, reading the
papers, some dispute as to whether legally they're entitled."

Even thought, it is evident that theft without duration, by its very nature, cannot exist in
isolation—inherently every theft is an act of laundering. The laundering directly and
continuously harms the victims, ECF202 applies a false mutual subsidiarity, when
assuming “a person directly and proximately harmed” and U.S.C. § 3663A(a)(2) doesn't apply
to the victims, through circular reasoning around the limited indictment, when § 3663A(a)(2)
alone can be met without indictment. While the indictment required for § 3663A(a)(1) only
requires § 3663A (c)(B) (an indictment for an offense, in which “an identifiable victim or
victims has suffered a physical injury or pecuniary loss.”)

Furthermore, the case reference cited in this argument is misleading. In United States v.
Randle, 324 F.3d 550, 556 (5th Cir. 2003), the victims’ right to restitution was neither
invalidated nor denied. Rather, the responsibility for restitution was partially allocated to
Randle’s co-conspirators, who were directly involved in issuing and possessing the counterfeit

checks. This precedent does not support any argument for denying restitution to victims.
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| respectfully request that the Court reject the flawed and illogical arguments presented and

ensure a fair and reasonable resolution consistent with the rights of all victims.

Bitfinex is not the owner

Bitfinex is responsible for making the theft possible through circumventing the
unhackable trustee-structure called “MultiSig Wallets”, So that Bitfinex’ responsibility
is practically inseparable from the theft, so that it is very important to establish the
term “Multi-Signature Wallet’ in this case. It is a very critical factor. “The backup key

is broken up into multiple parts and requires multiple agents of Bitfinex in order to

reconstruct it.”

Bitfinex wasn't willing to responsibly take debt immediately in 2016 but multiplied the
number of victims through taking coins away from all poorer and less active owners
confirming they willingly used keys programmatically, which should have required a
group of manual trustees.

Bitfinex could get $14.2 Million + interest, if all victims were to pay for the tokens that
Bitfinex once credited as a company-valuation experiment and to avoid bankruptcy of
one of their businesses,

if this was chosen, despite it said:

"Tokens will be distributed without release or waiver.”

https:/; ive.or 170814 7/https: itfin I 12
"BFX tokens started trading on Bitfinex at less than $0.20"

/www. bitfi mi (while preceding and succeeding

announcement 124 & 130 have been deleted)

In other words:

1. If a postman illegally opens parcels and loses the items, does that mean the items

should be returned to him? Should he worsen matters, by opening even more from

other people to “replace” some?
2. What if he also hides the recipient-labels?

(Instead of a parcel, MultiSignature wallets are a cryptography equivalent of an unbreakable

safe.)
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Requests for Action: Require Victim Outreach Before any Asset Release

We hope Bitfinex must first, and for the first time prove cooperation and contact all victims
via eMail, SMS and partially postal mail, which Bitfinex has failed to do. Which demonstrates
the conflict of interest and the need for separation of powers in their tale.. Instead of only
setting their own rules high-handedly in their favor. 2016 it tragically was “the wild west” of
crypto, unlike 2025. We respectfully urge the Department of Justice and all relevant
authorities to take the necessary steps to protect victims’ rights, investigate Bitfinex’s role,
and prevent the potential perpetuation of harm.

As victims, we cannot endure the emotional distress of remembering Bitfinex, let alone

interacting with them.,

We respectfully urge the Department of Justice and all relevant authorities to take the necessary
steps to protect victims’ rights, investigate Bitfinex’s role, and prevent the potential perpetuation

of harm.
Pray for Relief

Almost every single day | have felt pain and shame not to follow my calling in this space.
What is the price to ensure food, justice and equality in one life? 0.1 Bitcoin? - Probably less.
- This was conceptually very predictable.

My spirit has been broken since.

If all 94000 Bitcoins were given to the wrong entity, to an entity they did not legally come
from, it would be the wrong signal, a tragic precedent and a de-facto crime. It would be a
giant tragedy.

My plea to the honorable Judge is for help to end this injustice and bring about restoration

and justice.

Thank you very much for your time and attention.

Respectfully submitted,

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Pro Se Victims’ Representative
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CERTIFICATE OF SERVICE

|, Jonas Paasch, hereby certify that on this 28" day of January, 2025, a true and correct
copy of the foregoing document was served upon the following individuals by the methods

indicated below:

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